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 1   STEVE EMERY TEICH
     Cal. State Bar No. 78397
 2   1390 Market Street, Fox Plaza, Suite 310
     San Francisco, CA 94102
 3   Telephone: (415) 864-5494
 4   Attorney for Defendant
     PHAT VUONG
 5
 6
 7
 8                           IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
11
12
     UNITED STATES OF AMERICA,                    )      CASE NO.: 06-0428 SI
13                                                )      CASE NO.: CR-05-0375 SI
                                                  )
14                   Plaintiff,                   )
                                                  )      STIPULATION TO TRANSFER
15           vs.                                  )      PROPERTY AND ORDER
                                                  )
16                                                )
     PHAT VUONG, et., al.                         )
17                                                )
                                                  )
18                   Defendants.                  )
                                                  )
19
20           It is hereby stipulated by the parties, through their attorneys STEVE EMERY TEICH
21   Attorney for PHAT VUONG and ANDREW SCOBLE Assistant United States Attorney as
22   follows:
23           Defendant PHAT VUONG is presently released from custody on a bail of $250,000 secured
24   by a property bond of $150,000. The bond is presently secured by the property at 2378 18th
25    Street, San Pablo, CA 94806, owned by DUNG T. VUONG and VU TRAN, a wife and husband.
26           The property posted in case No. 05-0375SI shall be posted in case No.: 06-0428SI in place
27   of CR-05-0375SI. All terms and effects of said property and bond in CR-05-0375SI, shall
28    remain in effect in case No.: 06-0428SI.


     STIPULATION TO TRANSFER PROPERTY AND ORDER
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 1           The sureties shall record a certified copy of this order, attaching a copy of the original Deed
 2   of Trust as an exhibit with the appropriate County Recorder’s Office.
 3           Defense counsel has advised the sureties of the charges and maximum penalties which the
 4   defendant now faces in CR06-0428SI.
 5
 6
     Dated: ____08/29/06____________                _________/S/_________________
 7                                                  STEVE EMERY TEICH
                                                    Attorney for Defendant
 8                                                  PHAT VUONG
 9
     Dated _____08/28/06____________                         _/S/__
10                                                  ANDREW SCOBEL
                                                    Assistant United States Attorney
11
12
     Dated: _____08/26/06___________                __________/S/__________________
13                                                  DUNG T. VUONG
14
15   Dated ______08/26/06___________                       /S/
                                                    VU TRAN
16
17
18
19           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the property posted in
20   case #05-0375SI shall be posted forthwith in case No.: 06-04258SI. All terms and effects of said
21   property and bond in case #05-0375SI, shall remain in effect in case No.: 06-0428SI.
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24
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25           August 29, 2006
     Dated: ___________________                     __________________________________
                                                    Judge of the United  States  ro
                                                                            . SpeDistrict Court
                                                                    Joseph C
                                                           NO




                                                                      Judge
                                                                                                  FO




26
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     STIPULATION TO TRANSFER PROPERTY AND ORDER
